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 8   Counsel for Defendant DEPAPE
 9
10                             IN THE UNITED STATES DISTRICT COURT
11                         FOR THE NORTHERN DISTRICT OF CALIFORNIA
12                                      SAN FRANCISCO DIVISION
13

14      UNITED STATES OF AMERICA,                          Case No.: CR 22–426 JSC
15                       Plaintiff,                        STIPULATION AND [PROPOSED]
                                                           ORDER TO SET PRETRIAL
16              v.                                         DEADLINES
17      DAVID WAYNE DEPAPE,
18                       Defendant.
19
20

21           The above titled matter is currently scheduled for a pretrial conference on October 11,

22   2023, and for trial beginning on October 23, 2023. The parties have met and conferred

23   regarding pretrial deadlines, and stipulate to the following proposed schedule, all subject to the

24   defendant’s right to an effective defense:

25             •     July 28, 2023: Joint proposed jury questionnaire including case description and

26                   involved individuals list;

27             •     August 1, 2023: Deadline for Rule 16 and Criminal Local Rule 16-1(c) discovery

28                   and disclosures, including the government’s expert disclosures, if any, and

     [PROPOSED] STIPULATED ORDER
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 1                 excepting defense expert disclosures. Government to produce Brady, Giglio, and
 2                 Jencks materials;
 3             •   August 2, 2023: Status conference at 10:00 AM regarding jury questionnaires;
 4             •   August 30, 2023: Government to produce its draft witness and exhibit lists to the
 5                 defense;
 6             •   September 6, 2023: Deadline for the defendant’s expert disclosures, if any;
 7             •   September 13, 2023: Motions in limine, serve and file exhibit and witness lists
 8                 (excluding rebuttal and impeachment witnesses), exchange exhibits or provide
 9                 Bates numbers of exhibits already in opposing party’s possession;
10             •   September 27, 2023: Oppositions to motions in limine;
11             •   October 4, 2023: Replies to motions in limine, joint proposed jury instructions,
12                 proposed verdict form;
13             •   October 4, 2023: Parties to file joint Pretrial Conference Statement in accordance
14                 with Criminal Local Rule 17.1-1(b);
15             •   October 11, 2023: Pretrial conference at 10:00 AM;
16             •   October 23, 2023: Trial.
17
               IT IS SO STIPULATED.
18

19                    April 3, 2023                      ISMAIL J. RAMSEY
                      Dated                              United States Attorney
20                                                       Northern District of California
21                                                                 /S
22                                                       LAURA VARTAIN HORN
                                                         KYLE WALDINGER
23                                                       Assistant United States Attorneys
24

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     [PROPOSED] STIPULATED ORDER
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              Case 3:22-cr-00426-JSC Document 32 Filed 04/03/23 Page 3 of 4



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 2                    April 3, 2023             JODI LINKER
                      Dated                     Federal Public Defender
 3
                                                Northern District of California
 4
                                                         /S
 5                                              ANGELA CHUANG
                                                JODI LINKER
 6                                              Attorneys for David DePape

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     [PROPOSED] STIPULATED ORDER
     DEPAPE, CR 22–426 JSC
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 1                                       [PROPOSED] ORDER
 2           For the reasons stated above, the Court hereby adopts the proposed schedule for pretrial
 3   deadlines.
 4   IT IS SO ORDERED.
 5

 6   DATED:                                                   _____________________________
                                                              JACQUELINE S. CORLEY
 7                                                            United States District Judge
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     [PROPOSED] STIPULATED ORDER
     DEPAPE, CR 22–426 JSC
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